Case 6:20-cr-00097-GAP-LRH Document 120 Filed 09/20/21 Page 1 of 12 PageID 550




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

    UNITED STATES OF AMERICA

                 v.                         Case No. 6:20-cr-97-GAP-LRH
                                                        (Forfeiture)

    JOEL MICAH GREENBERG

                      UNITED STATES’ MOTION FOR ENTRY
                          OF ORDER OF FORFEITURE

          The United States respectfully moves this Court, pursuant to 18 U.S.C.

    § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2(b)(2), to enter

    an order of forfeiture in the amount of $654,799.95, representing the amount

    of proceeds the defendant obtained as a result of the wire fraud scheme and

    conspiracy to commit offenses against the United States, which, upon entry,

    should become final as to the defendant. In support thereof, the United

    States submits the following memorandum of law.

                            MEMORANDUM OF LAW

    I.    Statement of Facts

          1.     On March 30, 2021, a thirty-three count Third Superseding

    Indictment was returned, charging the defendant, in pertinent part, with a wire

    fraud scheme, in violation of 18 U.S.C. § 1343, and a conspiracy to commit
Case 6:20-cr-00097-GAP-LRH Document 120 Filed 09/20/21 Page 2 of 12 PageID 551




    offenses against the United States (specifically, violations of 18 U.S.C. §§ 201,

    287, 641 and 1343), in violation 18 U.S.C. § 371. Doc. 90. The Third

    Superseding Indictment also contained forfeiture allegations which notified

    the defendant that, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §

    2461(c), among others, the United States would seek to forfeit any property,

    real or personal, which constitutes or is derived from proceeds traceable to

    these violations. Id. at 42-43.

               2.   On May 14, 2021, the United States and the defendant entered

    into a plea agreement. Doc. 105. In paragraph 14 of his plea agreement,

    entitled “Forfeiture of Assets,” the defendant agreed that he obtained

    $654,799.95 in proceeds as a result of the wire fraud scheme charged in Count

    Fourteen and the conspiracy charged in Count Twenty-Six.1 Id. at 13-14.




           1
               While the defendant only pled to one substantive count of wire fraud, the
    United States is entitled to an order of forfeiture for the entire amount of the wire
    fraud scheme, not just the proceeds of the specific substantive count to which the
    defendant pled guilty. “When a scheme is charged, even though only certain
    substantive counts are proved, the proceeds of the scheme are forfeitable.” United
    States v. Clark, 13-10034-CR, 2016 WL 361560, at *2 (S.D. Fla. 2016) (citing United
    States v. Hasson, 333 F.3d 1264, 1279–1280 (11th Cir. 2003)); see also United States v.
    Venturella, 585 F.3d 1013, 1015 (7th Cir. 2009) (forfeiture in fraud case “forfeiture is
    not limited to the amount of the particular mailing but extends to the entire
    scheme”).

                                                2
Case 6:20-cr-00097-GAP-LRH Document 120 Filed 09/20/21 Page 3 of 12 PageID 552




          3.     On May 17, 2021, the defendant pled guilty to, among others,

    Counts Fourteen (wire fraud scheme, in violation of 18 U.S.C. § 1343) and

    Twenty-Six (conspiracy to commit offenses against the United States, in

    violation of 18 U.S.C. § 371) of the Third Superseding Indictment. Doc. 106.

    On June 3, 2021, the Court accepted the plea of guilty and adjudicated the

    defendant guilty. Doc. 115. The defendant is scheduled to be sentenced on

    November 18, 2021. Doc. 119.

      II. Applicable Law

          The United States is entitled to an order of forfeiture against the

    defendant, pursuant to 18 U.S.C. § 981(a)(1)(C). The United States may civilly

    forfeit, pursuant to 18 U.S.C. § 981(a)(1)(C), any property, real or personal,

    which constitutes or is derived from proceeds of any "specified unlawful

    activity," as defined in 18 U.S.C. § 1956(c)(7). A “specified unlawful

    activity,” under 18 U.S.C. § 1956(c)(7), includes bribery (18 U.S.C. § 201) and

    theft of government property (18 U.S.C. § 641), or a conspiracy to commit

    such offenses (18 U.S.C. § 371). A “specified unlawful activity” under

    section 1956(c)(7) also includes any offense listed in section 1961(1), which, in

    turn, includes any violation of sections 1343 (wire fraud), or a conspiracy to

    commit wire fraud (18 U.S.C. § 371).

                                            3
Case 6:20-cr-00097-GAP-LRH Document 120 Filed 09/20/21 Page 4 of 12 PageID 553




          Although § 981(a)(1)(C) is a civil forfeiture statute, 28 U.S.C. ' 2461(c)

    authorizes the criminal forfeiture of any property that can be forfeited civilly,

    using the procedures for the criminal forfeiture and disposition of property set

    forth in 21 U.S.C. ' 853.

          For cases in which a defendant no longer has the actual dollars or

    property traceable to proceeds in her possession, or the government cannot

    locate those assets, the obligation to forfeit simply takes the form of an order

    of forfeiture in favor of the United States. See United States v. Padron, 527 F.3d

    1156, 1161-62 (11th Cir. 2008). Rule 32.2(b)(1) provides that, where the

    government seeks an order of forfeiture, the Court must determine the amount

    of money that the defendant will be ordered to pay.

          The defendant admitted that he has dissipated the criminal proceeds

    that he obtained from his offenses. Doc. 105 at 14. Because the United

    States could not locate the specific property constituting or derived from the

    proceeds the defendant obtained from the wire fraud scheme or conspiracy to

    commit offenses against the United States, the United States seeks an order of

    forfeiture against the defendant in the amount of $654,799.95, pursuant to

    Rule 32.2(b)(2). As the defendant has agreed, he obtained at least

    $654,799.95 in proceeds as a result of his participation in the wire fraud

                                            4
Case 6:20-cr-00097-GAP-LRH Document 120 Filed 09/20/21 Page 5 of 12 PageID 554




    scheme and the conspiracy to commit offenses against the United States. If

    the Court finds that at least $654,799.95 was obtained by the defendant, and

    that he has dissipated those proceeds, then it is appropriate for the Court to

    enter an order of forfeiture against the defendant in that amount pursuant to

    Rule 32.2(b)(2).

    III.   Factual Basis

           The defendant, Greenberg, admitted in the Factual Basis of the Plea

    Agreement that he was elected as Seminole County Tax Collector in 2016,

    and started in office on or about January 3, 2017. During his tenure as Tax

    Collector and after his arrest on June 23, 2020, Greenberg committed multiple

    federal criminal offenses. Factual Basis at 28.

                            Wire Fraud Scheme (Count 14)

           With respect to the wire fraud scheme to which he pled guilty, after

    assuming office as the Tax Collector, Greenberg used his access to the

    accounts and funds of the Tax Collector’s Office to engage in a scheme to

    defraud that enabled him to deprive the Tax Collector’s Office and Seminole

    County of the use and benefit of those funds. Id. at 38-70.

           One of the focuses of Greenberg’s fraud scheme related to his desire to

    acquire cryptocurrency for himself. Id. at 39. Starting in February 2017,

                                            5
Case 6:20-cr-00097-GAP-LRH Document 120 Filed 09/20/21 Page 6 of 12 PageID 555




    Greenberg obtained a series of American Express credit cards in the name of

    the Tax Collector’s Office and used those cards to purchase thousands of

    dollars of personal items, including cryptocurrency for himself. These

    purchases violated the Tax Collector Office policy. Id. In 2017, the Tax

    Collector’s Office paid for a number of personal cryptocurrency purchases that

    Greenberg made using his Tax Collector’s Office American Express corporate

    card, including at least one charge for $1,500 in November 2017 (Count 11).

    Id. at 39.

           In 2018, Greenberg defrauded the Tax Collector’s Office out of another

    $200,000 that he used for additional cryptocurrency purchases for his own

    personal benefit. Id. at 51. This time, he set up an account at Entity A in the

    name of the Seminole County Tax Collector’s Office. Id. He was the sole

    user on the account and the only one from the Tax Collector’s Office with

    access to the account. Id. To fund the account, Greenberg told the Chief

    Financial Officer that he would like to invest “between $100k and $200k” in a

    fund. Id. When the CFO asked what the investment was, Greenberg lied

    about the investment, knowing that the real purpose for which he was seeking

    the funds was to purchase cryptocurrency for himself. Id. at 51-52. On

    about December 20, 2018, at Greenberg’s direction, the CFO used interstate

                                           6
Case 6:20-cr-00097-GAP-LRH Document 120 Filed 09/20/21 Page 7 of 12 PageID 556




    wires to transfer $200,000 to the bank for the Entity A account of the Tax

    Collector’s Office located outside of Florida (Count 14). Id. at 52. Greenberg

    quickly spent the $200,000 in multiple purchases of cryptocurrency. Id.

          In 2019, Greenberg purchased additional cryptocurrency for himself

    using Tax Collector funds. Id. at 58. For this part of the scheme, he used an

    entity that he helped to establish by the name of Government Blockchain

    Systems, LLC. Id. Greenberg opened an account at Fifth Third Bank in the

    name of Government Blockchain Systems and made himself the sole

    signatory. Id. at 58-59. Greenberg deposited a check from the Tax

    Collector’s Office’s Florida Capital bank account into the Government

    Blockchain Systems’ Fifth Third Bank account in September 2019, and then

    used interstate and foreign wires to transfer most of those funds to accounts

    that he used to purchase cryptocurrency, including at least four transfers of

    $5,000, each, in September and October 2019, to an account at Entity B that

    he controlled (Counts 15-18). Id. at 59. The cryptocurrency ended up in

    wallets that belonged to Greenberg. Id. at 60.

          Greenberg also used his purchases of cryptocurrency equipment to

    conceal other purchases he made for his own personal benefit. For example,

    on about January 27, 2020, he used his American Express card from the Tax

                                            7
Case 6:20-cr-00097-GAP-LRH Document 120 Filed 09/20/21 Page 8 of 12 PageID 557




    Collector’s Office to purchase an autographed Michael Jordan photograph for

    $599.95 (Count 20). Id. at 69.

          As Greenberg admitted, in total, he obtained at least $222,099.95 from

    this wire fraud scheme. Id at 13.

                                Conspiracy (Count 26)

          In response to the COVID-19 pandemic, Congress passed the

    Coronavirus Aid, Relief, and Economic Security Act, also known as the

    CARES Act. Id. at 74. In conjunction with an officially declared disaster by

    the United States Government, the CARES Act allowed for the Small

    Business Administration, an agency of the United States, to offer Economic

    Injury Disaster Loan (EIDL) funding to business owners negatively affected

    by the COVID-19 pandemic. To qualify, a business had to be in operation

    prior to February 1, 2020. Id.

          Using the SBA online portal, EIDL applicants submitted personal and

    business information in support of each EIDL application, and they did not

    have to submit supporting documentation of any sort. Id. at 74. The

    application included a jurat-like paragraph where the applicant affirms that the

    information submitted is true and correct under the penalty of perjury and

    applicable criminal statutes. Id. 74-75.

                                           8
Case 6:20-cr-00097-GAP-LRH Document 120 Filed 09/20/21 Page 9 of 12 PageID 558




          To evaluate EIDL applications, the SBA computer system used

    automation and system programming to quickly conduct checks of each

    application submitted by each applicant. Id. at 76. The SBA computer

    system performed checks of the applicant’s credit worthiness and evaluated

    other elements of data furnished by the applicant to identify duplicative

    applications and indicators of fraudulent activity. The SBA computer system

    also utilized the information furnished by the applicant to determine the dollar

    amount of the loan offer that the applicant may be extended, which included

    gross revenues in the 12-month period prior to the disaster, costs of goods sold

    during that same timespan, and loss of rental income. If any aspect of the

    application did not pass the automated evaluation within the SBA computer

    system, the application’s progress was stopped, and an electronic notification

    was sent to the applicant regarding the potential cause for the application to be

    halted. The applicant was then given the opportunity to engage with the SBA

    and request reconsideration of the application. The loan application

    evaluation system also was designed so that SBA employees, to include SBA

    Loan Specialists, could affect applications and manually change and override

    the system’s actions if appropriate and necessary. Id.



                                            9
Case 6:20-cr-00097-GAP-LRH Document 120 Filed 09/20/21 Page 10 of 12 PageID 559




          As identified in the Third Superseding Indictment, the “SBA

    Employee” was a resident of the Middle District of Florida and a “public

    official” as defined by 18 U.S.C. § 201(a)(1). Id. In or about May 2020, the

    SBA Employee began working for the U.S. Government as an SBA Loan

    Specialist. Id. As an SBA Loan Specialist, the SBA Employee was

    responsible for processing home and business loans; making recommendations

    on collateral needed to secure loans; applying accepted financial procedures to

    analyze financial resources to determine an applicant's ability to repay

    requested loans; reviewing all pertinent facts needed to make eligibility

    determinations by analyzing such factors as the nature and cause of damage,

    intended use of proceeds, legislative and administrative loan limits, and

    disposition of insurance and other recoveries; ensuring loan files contain all

    pertinent documentation, to include conversations with applicants and written

    recommendations or justifications for conclusions; processing loan

    applications on web-based computer system; and responding orally and in

    writing to applicants or their representatives. Id. at 76-77. Because of

    COVID-19, the SBA authorized the SBA Employee to work from the SBA

    Employee’s residence located in the Middle District of Florida. Id. at 77.



                                           10
Case 6:20-cr-00097-GAP-LRH Document 120 Filed 09/20/21 Page 11 of 12 PageID 560




          The defendant conspired with the SBA Employee and another

    individual to submit false applications for EIDL loans and to pay the SBA

    employee bribes for her assistance in approving the fraudulent applications.

    Id. at 77-86. As a result of this fraud, Greenberg received $432,700 in

    fraudulent EIDL proceeds. Id. at 85.

    IV.   Conclusion

          WHEREFORE, the United States respectfully requests that this Court

    enter an Order of Forfeiture for the $654,799.95 in proceeds the defendant

    admits he fraudulently obtained as a result of his wire fraud scheme and

    conspiracy, pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and

    Rule 32.2(b)(2), Federal Rules of Criminal Procedure.

          The United States further requests that, because the $654,799.95 in

    proceeds was dissipated by the defendant, the United States may seek, as a

    substitute asset, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C.

    § 2461(c), forfeiture of any of the defendant’s property up to the value of the

    proceeds obtained.




                                           11
Case 6:20-cr-00097-GAP-LRH Document 120 Filed 09/20/21 Page 12 of 12 PageID 561




          As required by Rule 32.2(b)(4)(B), the United States further requests

    that the Court include the forfeiture when orally announcing the sentence, and

    include the forfeiture order in the judgment. See United States v. Kennedy, 201

    F.3d 1324, 1326 (11th Cir. 2000) and Fed. R. Crim. P. 32.2(b)(4)(A) and (B).

                                       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

           I hereby certify that on September 20, 2021, I electronically filed the
    foregoing with the Clerk of the Court by using the CM/ECF system which
    will send a notice of electronic filing to the following:

    Fritz J. Scheller, Esquire

                                 By:   s/Suzanne Nebesky
                                       SUZANNE NEBESKY
                                       Assistant United States Attorney
                                            12
